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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

NIKE, INC.,
                                                     Case No. 20-cv-02613
               Plaintiff,
                                                     Judge Charles P. Kocoras
v.
                                                     Magistrate Judge Sunil R. Harjani
333STRONGER, et al.,
               Defendants.


                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on July 8, 2020 [45], in favor of

Plaintiff Nike, Inc. (“Plaintiff” or “Nike”) and against the Defendants Identified in Schedule A in

the amount of five hundred thousand dollars ($500,000) per Defaulting Defendant for willful use

of counterfeit Nike Trademarks in connection with the offer for sale and/or sale of products

through at least the Defendant Internet Stores, and Nike acknowledges payment of an agreed upon

damages amount, costs, and interest and desires to release this judgment and hereby fully and

completely satisfy the same as to the following Defendants:

                 Defendant Name                                     Line No.
                   FlyAnyAAA                                           36
                  wanglixia123                                        142
                 Wangqiandexiaopu                                     143
                   Warm Wnd                                           146
                    xxw store                                         152
                   Zuqiuduijiu                                        174
                    Joie Store                                        185

       THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendants are hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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Dated this 14th day of August 2020.   Respectfully submitted,

                                      /s/ RiKaleigh C. Johnson
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                                      Justin R. Gaudio
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